
PER CURIAM.
We find that summary judgment was prematurely entered where the scant record to date indicates the existence of a genuine issue of fact as to whether there was an agency relationship based upon the dealings between the parties. E.g., Moore v. River Ranch, Inc., 642 So.2d 642, 643 (Fla. 2d DCA 1994); Braidi Trading Co. v. Anthony R. Abraham Enters., Inc., 469 So.2d 955, 956-57 (Fla. 3d DCA 1985). Further discovery, however, may conclusively resolve this issue; therefore, our reversal is without prejudice to appellees to renew their motion for summary judgment if a more developed record so warrants the same.
Reversed.
